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                     PUBLIC SERVICE LOAN FORGIVENESS (PSLF) & TEMPORARY                                          OMB NO. 1845-0110
                                                                                                                 Form Approved
                     EXPANDED PSLF (TEPSLF) CERTIFICATION & APPLICATION                                          Exp. Date 08/31/2023
                     William D. Ford Federal Direct Loan (Direct Loan) Program                                   PSFAP - XBCR

                     WARNING: Any person who knowingly makes a false statement or misrepresentation on this form or on
      PSLF           any accompanying document is subject to penalties that may include fines, imprisonment, or both, under
                     the U.S. Criminal Code and 20 U.$.C. 1097.
SECTION 1: BORROWER INFORMATION

                                                           Please enter or correct the following information.
                                                           [ Check this box if any of your information has changed.
                                                                 SSN
                                                         Date of Birth     09/01/1949
                                                                Name
                                                                           ---------
                                                                           Fred Nance Jr
                                                             Address       17239 EVANS AVENUE
                                                                  City     SOUTH HOLLAND State IL            Zip Code 60473
                                                 Telephone - Primary
                                                                         ��--------------
                                                                         (708) 921-1395

                                                                         ��--------------
                                               Telephone - Alternate     (708) 921-1395
                                                                Email    frednance@clickservices.org
For more information on PSLF, visit StudentAid.gov/public.service. To apply online,       visit   StudentAid.gqvIPSLE.
SECTION 2: BORROWER REQUEST, UNDERSTANDINGS, CERTIFICATION, AND AUTHORIZATION
l request (1) that the U.S. Department of Education (the Department) determine whether I qualify for PSLF Or TESPLF, and
discharge any qualifying loans that I have, and (2) if none of my loans qualify for PSLF or TEPSLF when I submit this form,
determine how many qualifying payments I have made towards PSLF and TEPSLF.
   D l just want to find out how many qualifying payments I have made or if my employer is a qualified employer.
  [I believe I qualify for forgiveness under PSLF or TEPSLF right now.

  [lf\indicated that l believe l qualify for forgiveness now, I want a forbearance while my application is being processed, but
    understand that periods of forbearance do not count towards forgiveness.

I understand that:
    1. To qualify for forgiveness, I must have made 120 qualifying payments on my Direct Loans while employed full-time by a
       qualifying employer. Neither the 120 qualifying payments nor the employment have to be consecutive.
    2. To qualify for forgiveness, I must be employed full-time by a qualifying employer when I apply for and get forgiveness.
    3. By submitting this form, my student loans held by the Department may be transferred to FedLoan Servicing.
    4. If the Department determines that I appear to be eligible for forgiveness, the Department may contact my employer before
       granting forgiveness to ensure that I continue to work for the employer.
    5. IfI am eligible for forgiveness, the amount forgiven will be the principal and interest that was due on my eligible Direct
       Loans when I made my final qualifying payment. Any amount that l pay on those loans after I have made my final qualifying
       payment will be treated as an overpayment. I must continue to make payments on any of my other loans.
    6. If/ am not eligible for forgiveness, I will be notified of the determination, why it was made, and how many qualifying
       payments I have made towards PSLF and TEPSLF.

l certify that all of the information I have provided on this form and in any accompanying document is true, complete, and correct
to the best of my knowledge and belief and that if I cease to be employed by a qualifying employer after I submit this application,
but before forgiveness is granted, I will notify the Department (see Section 7) immediately.
   [Check this box if you cannot obtain certification from your employer because the organization is closed or because the
       organization has refused to certify your employment. The Department will follow up to assist you in getting documentation
       of your employment. Complete Section 3, but do not complete Section 4.

   Borrower's Signature                                                            Date

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  Borrower Name Fred Nance Jr                                                Borrower SSN
 SECTION 3: EMPLOYER INFORMATION (TO BE COMPLETED BY THE BORROWER OR EMPLOYER)
  1. Employer Name                                                  10. Is your employer tax-exempt under Section 501(c)(3) of
    EMAGES ING                                                          the Internal Revenue Code (IRC)?
                                                                        If your employer is tax-exempt under another subsection
  2. Federal Employer Identification Number (FEIN)
                                                                        of 501(c) of the IRC, such as 501 (c)(4) or 501 (c)(6),
    363895807                                                           check "No" to this question.
 3. Employer Address:                                                   [ Yes - Skip to Section 4.
                                                                        L No - Continue to ltem      11,
     7601 S KOSTNER AVE STE 500
     CHICAGO, IL 60652-1100 US                                      11. Is your employer a not-for-profit organization that is not
                                                                        tax-exempt under Section 501(c)(3) of the Internal
                                                                        Revenue Code?
                                                                        []Yes - Continue to Item 12.
 4. Employer Website (if any):
                                                                        [No- Your employer does not qualify.

                                                                    12. ls your employer a partisan political organization or a
 5. Employment Begin Date:
                                                                        labor union?
    10/01/2010
                                                                        [ Yes - Your employer does not qualify.
 6. Employment End Date:                                                [No- Continue to Item 13.
   09/30/2012                   OR [] Slf Employed
                                                                    13. Which of the following services does your employer
 7. Employment Status:      [X Full-Time [l Part-Time                   provide? Check all that apply and then continue to
                                                                        Section 4. If you you check "None of the above", do not
 8. Hours Per Week (Average)         40                                 submit this form.
                                                                        [] Emergency management
      Include vacation, leave time, or any leave taken under
   the Family Medical Leave Act of 1993.                                [] Military service (See Section 6)
                                                                        [] Public safety
 9. Is your employer a governmental organization?
                                                                        O Law enforcement
       A governmental organization is a Federal, State, local,          D Public interest legal services (See Section 6)
   or Tribal government organization, agency, or entity, a              [] Early childhood education (See Section 6)
   public child or family service agency, a Tribal college or
                                                                        []Public service for individuals with disabilities
   university, or the Peace Corps or AmeriCorps. Federal
   service includes military service.                                   [ Public service for the elderly
    [l]Yes - Skip to Section 4.                                         [] Public health (See Section 6)
    [X   No - Continue to ltem 10.                                      [l   Public education
                                                                        [] Public library services
                                                                       [ School library services
                                                                       0 Other school-based services
                                                                       D None of the above - the employer does not qualify.
SECTION 4: EMPLOYER CERTIFICATION (TO BE COMPLETED BY THE EMPLOYER)
By signing, I certify (1) that the information in Section 3 is true, complete, and correct to the best of my knowledge and belief, (2)
that I am an authorized official (see Section 6) of the organization named in Section 3, and (3) that the borrower named in Section
1 is or was an employee of the organization named in Section 3.
Note: If any of the information is crossed out or altered in Section 3, you must initial those changes.
  Official's Name                                             Official's Phone
  Official's Title                                            Official's Email

   Authorized Official's Signature                                           Date


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  Borrower Name Fred Nance Jr                                                Borrower SSN
 SECTION 3: EMPLOYER INFORMATION (TO BE COMPLETED BY THE BORROWER OR EMPLOYER)
  1. Employer Name                                                   10. Is your employer tax-exempt under Section 501(c)(3) of
    EMAGES INC                                                           the Internal Revenue Code (IRC?
                                                                        If your employer is tax-exempt under another subsection
  2. Federal Employer Identification Number (FEIN)                      of 501 (c) of the IRC, such as 501 (c)(4) or 501(c)(6),
    363895807                                                           check "No" to this question.

  3. Employer Address:                                                  [X   Yes - Sip to Section 4.
                                                                        [No - Continue to Item 11.
     7601 S KOSTNER AVE STE 500
     CHICAGO, IL 60652-1100 US                                      11. Is your employer a not-for-profit organization that is not
                                                                        tax-exempt under Section 501(c)(3) of the Internal
                                                                        Revenue Code?
                                                                        [l   Yes- Continue to ltem 12.
 4. Employer Website (if any):
                                                                        O No- Your employer does not qualify.
                                                                    12. Is your employer a partisan political organization or a
 5. Employment Begin Date:
                                                                        labor union?
    10/01/2018
                                                                        [Yes-Your employer does not qualify.
 6. Employment End Date:                                                [_]No- Continue to ltem 13.
    09/30/2020                   OR [] St# Employed
                                                                    13, Which of the following services does your employer
 7. Employment Status:      [X   Full-Time   [l Part-Time               provide? Check all that apply and then continue to
                                                                        Section 4. If you you check "None of the above", do not
 8. Hours Per Week (Average)        40                                  submit this form.
                                    ------
                                                                        [] Emergency management
      Include vacation, leave time, or any leave taken under
   the Family Medical Leave Act of 1993.                                [] Mitary service (See Section 6)

 9. Is your employer a governmental organization?
                                                                        D Public safety
                                                                        O Law enforcement
      A governmental organization is a Federal, State, local,           [ Public interest legal services (See Section 6)
   or Tribal government organization, agency, or entity, a              [ Early childhood education (See Section 6)
   public child or family service agency, a Tribal college or
                                                                        [Public service for individuals with disabilities
   university, or the Peace Corps or AmeriCorps. Federal
   service includes military service.                                   [Public service for the elderly
    [l Yes- Skip to Section 4.                                          0 Public health (See Section 6)
    [X No - Continue to Item 10,                                        D Public education
                                                                        [l Public library services
                                                                        [ School library services
                                                                        [ Other school-basod services
                                                                       [None of the above - the employer does not qualify.
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1is or was an employee of the organization named in Section 3.
Note: lf any of the information is crossed out or altered in Section 3, you must initial those changes.
  Official's Name                                             Official's hone
  Official's Title                                            Official's Email

   Authorized Official's Signature                                           Date


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